ORD (12/1/19) krw                UNITED STATES BANKRUPTCY COURT                       U.S. BANKRUPTCY COURT
                                          District of Oregon                           DISTRICT OF OREGON
                                                                                              FILED
In re                                          )
Gerald G. Monckton Jr                          ) Case No. 11−31792−pcm7                   December 6, 2023
Agustina L. Monckton                           )                                     Clerk, U.S. Bankruptcy Court
Debtor(s)                                      ) ORDER RETURNING
                                               ) DOCUMENT(S)                                BY krw DEPUTY
                                               )

IT IS ORDERED that:

1. The Motion For Expedited Ruling to Determine Disallowed Claim Prior to Redemption Deadline
   submitted to the court on 12/5/23 by Annika Eriksson is returned to the filer without entry on the
   court's docket, and will have no legal effect, for the reason(s) stated below:

    This case is closed. If you want to request the case be reopened you must file a Motion to
    Reopen, and pay any required reopening fee (Local Bankruptcy Rule 5010−1). Note: (a) There is
    no reopening fee for an adversary proceeding unless the dismissal/closing order so requires.
    (b) Local Form 1367.92 is required for motions to reopen a chapter 7 or 13 case if filed by the
    debtor, and must be signed by the debtor. (c) If the case was a "no−asset" Ch. 7 and no claims
    bar date was fixed, this court will not reopen it only to add creditors (per In re Beezley, 994 F2d
    1433 (9th Cir 1993)).

    NOTE: If a motion to reopen the case is filed, the filing fee will not be refunded if the court
    denies the motion.

2. For any document listed above to have legal effect, you must refile the corrected document with any
   required certificate of service.

3. If the date of filing is critical and you would like the court to consider treating a document as filed on the
   original submission date, you must file the following within 7 days of the "Filed" date above:

    a. a written request that sets forth all grounds for treating the document as filed on the original
       submission date; and

    b. the refiled document with any required certificate of service.

                                                                                  Clerk, U.S. Bankruptcy Court




                           Case 11-31792-pcm7          Doc 80-1     Filed 12/06/23
